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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           NORTHERN DIVISION


UNITED STATES                                                      PLAINTIFF


VS.                             CRIMINAL ACTION NO: 5:08-cr-20-DCB-LRA
                                      CIVIL ACTION NO: 3:13-cv-823-DCB


CHARLES W. GAVIN                                                   DEFENDANT

                      MEMORANDUM OPINION AND ORDER

      This cause is before the Court on Motion of the Defendant,

Charles W. Gavin, to Vacate, Set Aside, or Correct Sentence by a

Person in Federal Custody [docket entry no. 221] pursuant to 28

U.S.C.   §   2255.   Having    carefully   considered    said    Motion,    the

Government’s opposition thereto, applicable statutory and case law,

and being otherwise fully advised in the premises, the Court finds

and orders as follows:

                      Facts and Procedural History

      Gavin was charged in a single count indictment with conspiracy

to commit murder for hire in violation of 18 U.S.C. § 1958.

Following a jury trial, Gavin was convicted on April 28, 2009.

Gavin appealed his conviction to the Fifth Circuit, and the Fifth

Circuit affirmed his conviction on January 25, 2011. Gavin made no

further direct appeals. He filed this motion on April 19, 2012.

      Gavin argues that his attorney, John M. Colette, provided

ineffective assistance of counsel, alleging six instances, which

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the Government summarized as:

     (1) failure to interview the other co-defendants;
     (2) preventing the defendant from testifying;
     (3) failure to request a continuance;
     (4) failure to object at trial and to appeal the alleged
     late disclosure of Brady;1
     (5) failure to challenge defendant’s career offender
     status; [and]
     (6) failure to challenge a sentencing enhancement.

Resp. p. 2, ECF No. 228.

                                     Analysis

     To prevail on an ineffective assistance of counsel claim,

“[f]irst, the defendant must show that counsel’s performance was

deficient[;] . . . [s]econd the defendant must show that the

deficient    performance      prejudiced      the    defense.”        Strickland       v.

Washington,    466    U.S.    668,    687   (1984).     A   court      may    examine

performance or prejudice in any order and need not examine both

prongs if a defendant fails to demonstrate either. Id., at 697. An

attorney’s performance is judged on a standard of reasonably

effective assistance. Id., at 687 The deficient performance must be

so egregious as to render it less than that guaranteed by the Sixth

Amendment. “[S]crutiny of counsel’s performance must be ‘highly

deferential,’ and, in order to avoid the effects of hindsight bias,

[the Court] ‘must indulge a strong presumption that counsel’s

conduct     falls    within   the     range     of   reasonable        professional



     1
       The Government refers potential exculpatory information
that must be disclosed to a criminal defendant by the prosecution
from Brady v. Maryland, 373 U.S. 83 (1963).

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assistance . . . .’” Higgins v. Cain, 720 F.3d 255, 265 (5th Cir.

2013) (quoting Strickland, 466 U.S. at 689). “Prejudice means that

‘counsel’s errors were so serious as to deprive the defendant of a

fair trial. . . .” United States v. Painter, 243 F. App’x 818, 821

(5th Cir. 2007) (quoting Strickland, 466 U.S. at 687). Prejudice

requires a reasonable probability that, but for counsel’s deficient

performance, the result would have been different. Strickland, 466

U.S. at 694.

            1. Failure to Interview Other Co-Defendants

     In   his    first   claim,   Gavin    argues   that   Attorney     Colette

provided ineffective assistance of counsel by failing to interview

the other co-defendants. Pl.’s Mem. Supp. p. 5, ECF No. 222.

According   to     Gavin,   these     interviews     would    have    produced

exculpatory evidence that no conspiracy existed. However, Mr.

Colette states in his affidavit that he did interview the attorneys

for these defendants in numerous discussions and meetings. He

further states that none of the co-defendants had any exculpatory

information or new and relevant evidence. Aff. John M. Colette ¶ 1,

ECF No. 227.

     “[C]ounsel has a duty to make reasonable investigations or to

make a reasonable decision that makes particular investigations

unnecessary.” Strickland, 466 U.S. at 691. An attorney must “at a

minimum interview potential witnesses and make an independent

investigation of the facts and circumstances in the case.” Bryant


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v. Scott, 28 F.3d 1411, 1415 (5th Cir. 1994) (quoting Nealy v.

Cabana, 764 F.2d 1173, 1177 (5th Cir. 1985)) (internal quotations

omitted). However, Strickland does not require the interview of

every potential witness. The “results of interviewing certain

witnesses or other investigation may indicate that further pursuit

of additional asserted witnesses will likely be a waste of time.”

Bryant, 28 F.3d at 1419 n.13 (emphasis added). The Court finds that

“other     investigation”        includes        discussion      with   counsel        for     a

criminal co-defendant. Further, Colette advised Gavin to hire a

private     investigator        to   interview      his       co-defendants        who    were

incarcerated.2 Pl.’s Mem. Supp. p. 6, ECF No. 222. It cannot be

said       that     Colette      performed         “essentially            no      pre-trial

investigation” in support of a finding of deficient performance in

Bryant.     See    28    F.3d   at    1419    n.13.      While    Colette’s         personal

interviews        with     the co-defendants            may    have produced          a   more

complete investigation, “strategic choices made after less than

complete investigation are reasonable precisely to the extent that

reasonable        professional       judgments      support      the    limitations            on

investigation.”          Strickland,    466      U.S.    at    690-91.      Colette       used

reasonable professional judgment in deciding not to interview the


       2
       Gavin did hire the private investigator at Colette’s
suggestion. In his Memorandum of Support, Gavin claims that the
private investigator was unable to interview any of the potential
witnesses. Pl.’s Mem. Supp. p. 6, ECF No. 222. But in his Reply,
Gavin claims that the private investigator was able to interview
one of the potential witnesses, but that interview was cut short.
Reply p. 7, ECF No. 240.

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co-defendants personally; therefore, Gavin’s first claim lacks

merit.

                2. Preventing Gavin from Testifying

     In his second claim, Gavin argues that Colette provided

ineffective   assistance       of    counsel    by     preventing     Gavin    from

testifying on his own behalf. Pl.’s Mem. Supp. p. 10-11, ECF No.

222. According to Gavin, Colette prepared Gavin to testify because

Gavin “was the only witness that could get his version of the

events before the jury. . . .” Pl.’s Mem. Supp. p. 9. Colette

counters that   he   did not         prohibit   Gavin from        testifying     and

informed him that it was Gavin’s decision to testify or not to do

so. Aff. John M. Colette ¶2, ECF No. 227. The Government argues

this claim is not supported by the record. Resp. p. 3, ECF No. 228.

     “The decision of whether to testify belongs to the defendant

and his lawyer cannot waive it over his objection.” United States

v. Mullins, 315 F.3d 449, 454 (5th Cir. 2002). Based on the facts

now in the record, the Court cannot make a finding as to deficient

performance one way or the other. However, even assuming arguendo

that Colette’s performance was in fact constitutionally deficient,

the Court holds that not calling Gavin did not prejudice his

defense, failing the second prong of the Strickland analysis.3


     3
       The Government mischaracterizes Mullins when it states
that when defense counsel informs a defendant of the right to
testify and then decides not to call the defendant, “the inquiry
is whether or not the decision was sound trial strategy.” Resp.
p. 3. The Mullins court clearly stated that “it cannot be

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      Gavin asserts that he wanted to testify for several reasons:

      First, [Gavin] wanted to explain that he did not know
      [co-defendant Charles] McCullough, even if they were
      incarcerated at the same facility . . . [Gavin] wanted to
      testify to explain how [cooperating witness Cooper]4 knew
      about [the intended victims. And] . . . [Gavin] wanted to
      testify to explain how Cooper obtained his bank account
      numbers.

Pl.’s Mem. Supp. p. 10, ECF No. 222. The Government argues that,

even with this testimony, the result would have been the same

because   such   evidence      would   not    overcome    the        Government’s

“fingerprint and hand writing [evidence] linking the defendant to

the crime, as well as jail audio recordings of the defendant.”

Resp. p. 4, ECF No. 228. Further, the Government believes Gavin’s

testimony would not have been perceived as credible by the jury.

      Having reviewed the record, the Court finds that Gavin failed

to prove a reasonable probability that the outcome of his trial

would have been different. See Bonvillain v. Blackburn, 780 F.2d

1248, 1253 (5th Cir. 1986) (“[T]he defendant may not simply allege

but   must   ‘affirmatively      prove’      prejudice.”).      “A     reasonable



considered within the scope of sound trial strategy to not leave
the ultimate decision to the client. . . .” Mullins, 315 F.3d at
456. Therefore, the inquiry remains the Strickland prejudice
analysis, where the Court either finds or does not rule on
deficient performance and the defendant alleges that he was
prevented from testifying against his wishes.
      4
       To ensure his safety and protect his identity, the Court
has changed the name of the Government’s cooperating witness to
“Cooper” in accordance with the suggestion of the Court
Administration and Case Management, Defender Services, and
Criminal Law Committees.

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probability is a probability sufficient to undermine confidence in

the outcome.” Strickland, 466 U.S. at 694. The Supreme Court has

since elaborated that prejudice means “[t]he likelihood of a

different      result    must    be   substantial,      not   just       conceivable.”

Harrington v. Richter, 562 U.S. 86, 131 S. Ct. 770, 792 (2011);

Vasquez v. Thaler, 505 F. App’x 319, 325 (5th Cir. 2013) (quoting

Richter). Here, Gavin’s proposed testimony, when it is compared to

the other evidence submitted at trial, does not portend a different

result;   it    does    not     substantially     show     the   likelihood          of     a

different outcome. Further, the absence of this evidence from the

trial did not cause the proceeding to be fundamentally unfair.

Therefore, the Court finds this claim is without merit.

                   3. Failure to Request a Continuance

     In   his    third    claim,      Gavin    argues    that    Colette         provided

ineffective      assistance      of    counsel    by     failing        to     request      a

continuance during trial when the identities of two new potential

exculpatory witnesses became known. Pl.’s Mem. Supp. p. 11, ECF No.

222. The Court interprets this as a claim that Colette should have

called the witnesses at trial, but it will also examine the

decision not to request a continuance in its analysis. See Erickson

v. Pardus, 551 U.S. 89, 94 (2007) (stating that pro se pleadings

are to be liberally construed). It appears from his affidavit that

Colette chose not to request a continuance because he found that

the witnesses did not have any exculpatory evidence and what


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impeachment evidence they had would be cumulative or irrelevant.

Aff. John M. Colette ¶ 3, ECF No. 227. The Government argues that

the decision whether to call a witness rests squarely within the

professional discretion of the defense attorney. Resp. p. 5, ECF

No. 228 (citing United States v. Best, 219 F.3d 192, 201 (2nd Cir.

2000)).

     In the Fifth Circuit, to prevail on a claim based on the

failure to call a witness, the defendant must:

     (1) Name the witness
     (2) Demonstrate that the witness was available to testify
     and would have done so
     (3) Set out the content of the witness’s proposed
     testimony, and
     (4) Show that the testimony would have been favorable to
     a particular defense.

Day v. Quarterman, 566 F.3d 527, 538 (5th Cir. 2009). The Fifth

Circuit “has repeatedly held that complaints of uncalled witnesses

are not   favored    in   federal   habeas    corpus review       because    the

presentation of testimonial evidence is a matter of trial strategy

and because allegations of what a witness would have stated are

largely speculative.” Id.

     As to the first requirement, Gavin names the two witnesses as

Samuel Boswell and Charles Webb. Pl.’s Mem. Supp. p. 11, ECF No.

222. Boswell and Webb were incarcerated at the time of trial.

     As   to   the   second    requirement,     Gavin    has     not   produced

satisfactory    evidence    that    these    witnesses    would     have    been

available to testify. First, Gavin has not produced affidavits


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signed by the potential witnesses attesting to their willingness to

testify. See Adams v. Quarterman, 324 F. App’x 340, 350 (5th Cir.

2009); see also Slade v. Bingham, No. 2:11cv99, 2014 WL 1050340, at

*14-15 (S.D. Miss. Mar. 14, 2014) (applying Adams to the test found

in Day).

       Second, it is unlikely that Gavin could have produced the

witnesses at trial, even if they were willing. Because their

identities did not become known to the defense until the trial had

already begun, their presence would require a continuance from the

court. In order to continue a trial to produce a witness through a

writ   ad   testificandum,     the   defendant     must    “demonstrate      the

necessity of the witness’s testimony.” United States v. Redd, 355

F.3d 866, 878 (5th Cir. 2003) (quoting United States v. Gonzalez,

79 F.3d 413, 424 (5th Cir. 1996)). And “the defendant must ‘at

least make some plausible showing of how the witness’s testimony

would be both material and favorable to his defense.’” Id. (quoting

United States v. Valenzuela-Bernal, 458 U.S. 858, 867 (1982)).

Colette spoke with one of the potential witnesses over the phone

and determined that his evidence would not meet this standard. See

Notice Filing Volume 3 Official Tr. p. 130, ECF No. 187. The Court

finds that this investigation and decision fall within the wide

latitude given to attorneys to exercise their professional judgment

and does not represent a constitutionally deficient performance.

Even if Colette had requested the writs and a continuance, it is


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likely the court would have denied the request based on Colette’s

interpretation of the potential testimony. Therefore, the Court

finds that Gavin has failed to meet the second requirement for a

claim based on failure to call a witness.

     As   to    the   third   requirement,     Gavin     has      only    produced

speculative testimony in the form of his briefing. He does not have

affidavits signed by Boswell or Webb as to what they would have

testified to at trial. A defendant should “come[] forward with

affidavits from those non-testifying witnesses attesting under oath

as to . . . what they would have said at trial. . . .” Adams, 324

F. App’x at 350. The Court finds that this speculative testimony is

insufficient to meet the third requirement.

     As to the fourth requirement, the Court finds that Gavin has

not shown that the evidence would be favorable to his defense. The

description of Webb’s potential testimony given in Gavin’s briefing

does not contradict Colette’s interpretation of it as cumulative.

The Court finds that it would only serve to impeach Cooper’s

testimony,     an   issue   addressed   infra.    Further,        as     the   Court

understands from the briefing, the potential testimony of Boswell

is that Cooper sent a signed Uniform Commercial Code (“UCC”) form

to Boswell’s daughter to be filed with the state. Pl.’s Mem. Supp.

p. 15, ECF No. 222. This evidence would not have aided Gavin’s

defense. The Court finds that Gavin has failed to meet the fourth

requirement. Gavin has not meet three of the four Day requirements;


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therefore, this claim is without merit.

  4. Failure to Object at Trial and to Appeal the Alleged Late
                  Disclosure of Brady Evidence

     In his fourth claim, Gavin argues that Colette provided

ineffective assistance of counsel by failing to object to and

appeal the Government’s late disclosure of Brady evidence, namely

the identities of the potential witnesses, Samuel Boswell and

Charles Webb. Pl.’s Mem. Supp. p. 16-17, ECF No. 222. Colette

denies this claim as Gavin “re-urg[ing] basically the same alleged

error” as the third claim. Aff. John M. Colette, ¶ 4, ECF No. 227.

The remainder of Colette’s denial is read as denying the existence

of any Brady material, so there was nothing to object to or appeal.

The Government makes the same argument in its brief. See Resp. p.

5, ECF No. 228 (“The government did not fail to disclose Brady

material.”).

     In Brady v. Maryland, the Supreme Court held that government

suppression of exculpatory, material evidence violates due process.

373 U.S. 83, 87 (1963). “There are three components of a true Brady

violation: (1) the evidence at issue, whether exculpatory or

impeaching, must be favorable to the accused; (2) that evidence

must have been suppressed by the [prosecution], either willfully or

inadvertently; and (3) prejudice must have ensued.” Canales v.

Stephens, — F.3d —, No. 12-70034, 2014 WL 4290612, at *16 (5th Cir.

Aug. 29, 2014) (quoting Strickler v. Greene, 527 U.S. 263, 281-82

(1999))   (internal   quotation    marks     omitted).        Prejudice    and

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materiality are the same for purposes of a Brady analysis. Id.

     The Court finds that the proposed evidence of Boswell does not

meet the first component, that it be favorable to the accused, and,

therefore, there was no Brady violation. Boswell’s evidence that

Cooper sent a UCC form to Boswell’s daughter is at best neutral and

ancillary information. It meets the second component for the same

reasons as the evidence of Webb, discussed infra. It fails the

third component because the absence of nonfavorable evidence cannot

be prejudicial.

     The Court finds, however, that the proposed evidence of Webb

meets the first and second components. Colette refers to Webb’s

proposed testimony as impeachment evidence in his affidavit, and

Gavin’s description of what Webb would testify to comports with

this interpretation. Further, the identities of these two witnesses

were not disclosed until after trial had begun. Notice Filing

Volume 1 Official Tr. (“Tr. Vol. 1") p. 254, ECF No. 185 (“THE

COURT: How did you find [their names] out today? . . . MR.

BALDRIDGE: In the rough notes of the agents that were provided to

us this morning by the U.S. Attorney’s Office.”).5

     As to the third component, the Court finds that Gavin was not

prejudiced by the late disclosure of this information. “[T]here is

never a real ‘Brady violation’ unless the nondisclosure was so

serious that there is a reasonable probability that the suppressed


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         Mr. Baldrige was co-counsel with Colette.

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evidence would have produced a different verdict.” Strickler, 527

U.S. at 281. “The proper inquiry is whether ‘the favorable evidence

could reasonably be taken to put the whole case in such a different

light as to undermine confidence in the verdict.’” Canales, — F.3d

at —, 2014 WL 4290612, at *16 (quoting Strickler, 527 U.S. at 290).

Colette describes Webb’s testimony as “cumulative at best and not

relevant    at   the   worst”   because   Colette    asserts     that       he   had

“impeached Cooper as well as anyone ever had been impeached.”6 Aff.

John M. Colette ¶ 3, ECF No. 227. Having considered the transcript

of the direct and cross-examinations of Cooper, the Court agrees

that Webb’s proposed testimony would be redundant. Gavin outlines

four topics that Webb would be able to discuss to impeach Cooper:

(1) knowledge that Cooper was attempting to set up Gavin in

exchange for a reduction in his sentence, (2) whether Cooper

prepared UCC forms, (3) whether Cooper did legal work for other

inmates, and (4) the relationship between Cooper and McCullough.

See Pl.’s Mem. Supp. p. 14, ECF No. 222. The Court finds that the

first three of these topics were explored on both direct and on

Colette’s   cross. The     fourth   topic   was     covered     in    the   cross-

examination by McCullough’s attorney. Therefore, the Court holds



     6
       Having reviewed the description of Webb’s potential
testimony contained in Gavin’s briefing and the doubt cast on it
by Colette’s investigation, the Court will only view Webb’s
potential testimony as impeachment testimony. See Aff. John M.
Colette ¶ 4, ECF No. 227. (“[Webb] told [Colette] over the phone,
he did not hear what [Gavin] claims he did.”).

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that Webb’s testimony would not have altered the outcome of the

trial because the substance of it was put before the jury through

examination of other witnesses. Finding no Brady violation, the

Court holds it was not deficient performance for Colette not to

object at trial. Therefore, this claim lacks merit.

     5. Failure to Challenge Gavin’s Career Offender Status

     In   his   fifth   claim,    Gavin    argues   that    Colette   provided

ineffective assistance of counsel by failing to object to an

incorrect    offense    level   determination.      Gavin   claims    that   his

offense level as determined by the court was thirty-seven (37) when

it should have been thirty-two (32).7 Pl.’s Mem. Supp. p. 18.

Colette argues that he did in fact object to the offense level

during sentencing. Aff. John M. Colette ¶ 5&6, ECF No. 227. The

Government states that Gavin’s claim is not supported by the

record. Resp. p. 5, ECF No. 228. Gavin’s reply brief argues that

the Government “ha[s] conceded this issue with its ‘lackadaisical’

response.” Reply p. 23.

     The Court finds that Colette did object to Gavin’s status as

a career offender during sentencing. See Notice Filing Official Tr.

Sentencing (“Sent. Tr.”) p. 10-11, ECF No. 193. Therefore, Gavin’s

fifth claim lacks merit.

            6. Failure to Challenge Sentencing Enhancement


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       In his reply brief Gavin argues that his offender level
should have been seventeen (17) instead of thirty-two (32). Reply
p. 23. The Court considers this to be a typographical error.

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     In   his   sixth   claim,    Gavin    argues   that   Colette    provided

ineffective assistance of counsel by failing to object to a two

level sentencing enhancement for Gavin’s role as an organizer or

leader in the offense. Pl.’s Mem. Supp. p. 18, ECF No. 222. Colette

states that he did in fact object to the sentencing enhancement.

Aff. John M. Colette ¶ 5&6, ECF No. 227. The Government similarly

argues this claim is not supported by the record. Resp. p. 5, ECF

No. 228. In his Reply, Gavin concedes that Colette did formally

object to the enhancement but argues that Colette did not provide

an argument in support of his objection to satisfy the Sixth

Amendment burden. According to Gavin, Colette should have argued

that Gavin played no leading or organizing role and that the

enhancement is inapplicable to a defendant designated as a career

offender. Reply p. 24-25.

     As to Gavin’s first contention, that Colette did not argue at

sentencing that Gavin did not play an organizing or leading role in

the offense, the Court finds that this is not supported by the

record. See Sent. Tr. p. 6-10 (arguing that Cooper and the federal

agents were the organizers and leaders in the offense rather than

Gavin). As to Gavin’s second contention, that Colette did not argue

that the enhancement does not apply to a career offender, the Court

finds that Colette did not make this argument during sentencing.

Gavin argues that, after a defendant has been designated a career

offender under U.S.S.G. § 4B1.1, the only sentencing enhancement


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that can be applied is possession of a firearm under U.S.S.G. §

2D1.1(b)(1). Reply p. 25. However, Gavin cites no authority in

support of this argument, and the Court can find none. Further, in

United States v. Lomas, a court in the Middle District of Louisiana

applied    sentencing    enhancements       for   a    leadership     role    and

possession of a firearm to a defendant designated as a career

offender, negating Gavin’s theory. See No. 06158, 2009 WL 1809907,

at *4 (M.D. La. June 23, 2009) (acknowledging the district court’s

“upward adjustments for his possession of a firearm (and other

offense characteristics, such as the amount of ‘crack’ attributable

to him or his leadership role in the offenses)” at sentencing).

Therefore, the Court finds that this claim is without merit.

                                Conclusion

     Having reviewed Gavin’s six alleged instances of ineffective

assistance of counsel, the Court finds that all are without merit.

In the first, third, and fourth claims, the Court finds that

Attorney    Colette     gave   Gavin    a    constitutionally        sufficient

performance. In the second claim, the Court finds that Gavin failed

to prove prejudice by the absence of his testimony. In the fifth

and sixth claims, the Court finds that Gavin’s arguments are

unsupported by the record in this case. Therefore, Gavin’s motion

to vacate, set aside, or correct sentence will be denied.

                                   Order

     IT IS HEREBY ORDERED that the Defendant’s Motion to Vacate,


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Set Aside, or Correct Sentence by a Person in Federal Custody

pursuant to 28 U.S.C. § 2255 is DENIED.



     SO ORDERED this the 16th day of October 2014.


                                         /s/ David Bramlette
                                        UNITED STATES DISTRICT JUDGE




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